UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FELIX NKANSAH,
                     Plaintiff
                                          Docket No.
—v.—                                      1:18-cv-10230(KMW)(SLC)


UNITED STATES OF AMERICA,
                    Defendant




 PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO THE GOVERNMENT’S
  MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS AND IN SUPPORT OF
               CROSS-MOTION TO AMEND THE COMPLAINT




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Statutes

Federal Rule of Civil Procedure 15(a)(2)................................................................. 1
            ‭Plaintiff Felix Nkansah (“Plaintiff”), by his attorney, Rehan Nazrali, Esq., respectfully‬

‭submits this memorandum of law i) in support of his cross-motion to amend the complaint (‬‭See‬

‭ECF No. 1) pursuant to Federal Rule of Civil Procedure 15(a)(2) and ii) in opposition to‬

‭Defendant United States of America’s (“the Government”) motion for partial judgment on the‬

‭pleadings.‬

                                    ‭PRELIMINARY STATEMENT‬

            ‭Plaintiff filed this lawsuit against the Government due to mistreatment by U.S.‬

‭Immigration Customs and Enforcement (“ICE”) officers while he was in immigration‬

‭detention. Plaintiff asserts claims for assault, battery, intentional infliction of emotional distress‬

‭(“IIED”), and prima facie tort, all arising under the Federal Torts Claims Act (“FTCA”).‬

‭Now, Plaintiff respectfully submits this cross-motion for leave to amend his complaint (ECF‬

‭No. 1), specifically proposing amendments to his IIED and prima facie tort claims. For the‬

‭reasons stated below, the Plaintiff’s request should be granted, thus rendering the‬

‭Government’s motion moot.‬

            ‭Additionally, in direct opposition to the Government’s motion, the Plaintiff asserts that‬

‭the proposed amended complaint (“PAC”) plausibly alleges critical elements of the IIED and‬

‭prima facie tort claims and accordingly, the Government’s motion for judgment on the‬

‭pleadings should be denied. The PAC’s amendments are contained in paragraphs 70–75, 102,‬

‭103, and 105.‬

                                            ‭BACKGROUND‬‭1‬

            ‭On December 17, 2014, ICE officers arrested Plaintiff, a resident-alien, in anticipation‬

‭of his removal from the United States.‬‭See‬‭Compl.‬‭¶37. After initial booking and processing,‬


‭1‬
      ‭For the purposes of this motion, the allegations in the Complaint are accepted as true.‬

                                                     ‭1‬
‭ICE detained Plaintiff at the Hudson County Correctional Facility (“HCCF”) in Kearny, New‬

‭Jersey, pending his removal proceedings in immigration court.‬‭Id‬‭. at ¶¶37, 39. Plaintiff was‬

‭held at HCCF from December 17, 2014 through August 17, 2015.‬‭Id‬‭.‬

           ‭On August 10, 2015, while Plaintiff was at HCCF, Plaintiff filed a grievance with ICE‬

‭Enforcement and Removal Operations because a Deportation Officer denied him phone calls to‬

‭legal counsel.‬‭Id‬‭. at ¶38. In return, that Deportation‬‭Officer threatened to transfer Plaintiff‬

‭from HCCF to a far away location where his family would be unable to contact him.‬‭Id‬‭. After,‬

‭on August 12, 2015, Plaintiff reported that threat to other ICE officers and made a call to the‬

‭ICE 'HotLine.’‬‭Id‬‭.‬

           ‭Within five-days of reporting the threat, on August 17, 2015, unidentified ICE Officers‬

‭took Plaintiff from HCCF to 201 Varick Street in Manhattan (“Varick”) in order to process his‬

‭transfer to a different immigration facility in Alabama.‬‭Id‬‭. at ¶¶39, 45-46. Plaintiff’s transfer‬

‭to Alabama was in retaliation for grievances and complaints Plaintiff had lodged while at‬

‭HCCF, including complaints about inadequate heat, inadequate medical care, that he had not‬

‭received funds sent to him by a non-governmental organization, that his requests to make‬

‭phone calls to his counsel were denied, and regarding the Deportation Officer’s threat.‬‭Id.‬‭¶¶‬

‭38-40.‬

           ‭On the morning of August 17, 2015, at Varick, ICE placed Plaintiff in a cell by‬

‭himself.‬‭Id.‬‭¶41. Soon after, ICE officers entered‬‭the cell and engaged in an unprovoked‬

‭assault and battery of Plaintiff.‬‭Id‬‭. ICE officers‬‭pushed Plaintiff down onto the floor, struck‬

‭him, and one officer pushed his knee into Plaintiff’s back.‬‭Id.‬‭Afterwards, ICE officers placed‬

‭shackles on his hands and feet so tightly that they began to bleed, and lifted Plaintiff up by a‬

‭chain looped through those shackles causing severe pain and nerve damage.‬‭Id.‬‭¶43. In result,‬



                                                    ‭2‬
‭Plaintiff lost consciousness at Varick and was taken to Newark International Airport where he‬

‭was boarded onto an airplane.‬‭Id.‬‭¶45. On that flight, Plaintiff regained consciousness and‬

‭asked the officers to remove a hood that had been placed over his head, which was causing him‬

‭anxiety, but his request was refused.‬‭Id.‬

       ‭Plaintiff regained consciousness at an airport in Louisiana and was transported to an‬

‭ICE detention facility located in Jena, Louisiana, where he was seen by medical staff.‬‭Id‬‭. at ¶¶‬

‭46-47. Plaintiff was experiencing severe pain in his wrists and ankles and could not walk.‬‭Id.‬

‭at ¶47. The following day he was taken by bus to the Etowah County Detention Center‬

‭(“ECDC”) in Gadsden, Alabama, a local jail which housed immigration detainees pursuant to‬

‭a contract with ICE.‬‭Id‬‭. at ¶¶46, 48. Upon arrival‬‭at ECDC, Plaintiff was taken to the‬

‭Riverview Regional Medical Center in Gadsden, Alabama.‬‭Id.‬‭¶48-50.‬

       ‭Plaintiff remained at ECDC until March 2016.‬‭Id‬‭. at‬‭¶51. At ECDC, Plaintiff did not‬

‭receive adequate treatment for his nerve injuries, other physical complaints, and mental health‬

‭conditions.‬‭Id‬‭. at ¶¶49-51. Plaintiff was also housed‬‭in an inaccessible cell which prevented‬

‭him from accessing visitors and the phone.‬‭Id‬‭. at‬‭¶51. In March 2016, he was released into the‬

‭community pending further immigration court proceedings.‬‭Id.‬

                                   ‭PROCEDURAL HISTORY‬

       ‭Plaintiff commenced this action on November 9, 2018, asserting 16 claims against the‬

‭Government and 36 John Doe defendants, who were identified as ICE agents, individually and‬

‭in their official capacities.‬‭See‬‭ECF No. 1. Twelve‬‭of Plaintiff’s claims were brought under the‬

‭FTCA against the Government for assault, battery, IIED, excessive force in violation of the‬

‭Fourth and Eighth Amendments to the U.S. Constitution, negligent infliction of emotional‬

‭distress (“NIED”), false arrest/imprisonment, prima facie tort, medical negligence, gross‬



                                                  ‭3‬
‭negligence in the hiring, training, and retention of employees, negligence, negligent guard‬

‭violations, and negligent mishandling of bailment.‬‭Id.‬‭¶¶61-143. Four claims were brought‬

‭under the‬‭Bivens‬‭doctrine against some or all of the‬‭John Doe defendants for false‬

‭imprisonment in violation of the Fourth Amendment, failure to intervene in violation of the‬

‭Fourth Amendment and Fifth Amendments, cruel and unusual punishment in violation of the‬

‭Fifth and Eighth Amendments, and deliberate indifference for the failure to provide medical‬

‭care/negligent provision of medical care in violation of the Fifth and Eighth Amendments.‬‭Id.‬

‭¶¶144-85.‬

        ‭On August 23, 2019, the Government filed a partial motion to dismiss the complaint.‬

‭See‬‭ECF No. 21. The Government argued that sovereign‬‭immunity barred Plaintiff’s FTCA‬

‭claims alleging constitutional torts, as well as the claims arising from Plaintiff’s detention at‬

‭ECDC under the independent contractor exception.‬‭Id.‬‭at 6-10. In addition, the Government‬

‭argued that all claims arising from Plaintiff’s arrest on December 17, 2014, were untimely‬

‭because the arrest occurred more than two years before Plaintiff filed an administrative tort‬

‭claim.‬‭Id.‬‭at 12. Finally, the Government argued that‬‭Plaintiff failed to state a false‬

‭imprisonment claim because the complaint alleged no facts suggesting that his arrest was not‬

‭lawful.‬‭Id.‬‭at 12-15.‬

        ‭On March 20, 2020, the Court issued an Opinion and Order granting in part and‬

‭denying in part the Government’s motion.‬‭See‬‭ECF No.‬‭36. The Court granted the‬

‭Government’s motion to dismiss the constitutional tort claims, the claims arising from‬

‭Plaintiff’s arrest (specifically, Count 12 of the complaint alleging negligent mishandling of‬

‭bailment), and the FTCA claims for false imprisonment/arrest.‬‭Id.‬‭at 7-8, 10-14. The Court‬

‭declined to dismiss the claims arising from Plaintiff’s medical treatment at ECDC on the basis‬



                                                   ‭4‬
‭that whether ECDC qualifies as an independent contractor is a fact-dependent issue.‬‭Id.‬‭at‬

‭8-10.‬

          ‭On May 10, 2021, Plaintiff filed a motion to amend the complaint to substitute the John‬

‭Doe defendants with their actual names.‬‭See‬‭ECF Nos.‬‭64-66. The Government opposed,‬

‭arguing that amendment would be futile because the statute of limitations for‬‭Bivens‬

‭claims--the only claims asserted against the John Doe defendants--had expired.‬‭See‬‭ECF No.‬

‭67. Further, the Government argued that Plaintiff’s‬‭Bivens‬‭claims did not relate back to the‬

‭original complaint (ECF No. 1) because the‬‭Bivens‬‭claims were already time barred when this‬

‭action commenced, and because Fed. R. Civ. P. 15(c) does not permit relation back when the‬

‭failure to originally name the proper defendants was due to lack of knowledge of their‬

‭identities rather than a mistake.‬‭Id.‬

          ‭On August 30, 2021, Judge Cave filed a Report and Recommendation (“R&R”)‬

‭adopting the Government’s arguments and denying Plaintiff’s motion to amend as futile.‬‭See‬

‭ECF No. 74. On November 23, 2021, over Plaintiff’s objections,‬‭see‬‭ECF Nos. 75, 77, Judge‬

‭Crotty entered an Order adopting the R&R in its entirety, denying Plaintiff’s motion for leave‬

‭to amend his complaint, and dismissing the‬‭Bivens‬‭claims against the John Doe defendants,‬‭see‬

‭ECF No. 79.‬

          ‭On July 1, 2022, the parties further narrowed the claims at issue by filing a proposed‬

‭stipulation and order dismissing, with prejudice, Plaintiff’s claims for NIED, medical‬

‭negligence, gross negligence in the hiring, training, and retention of employees, negligence,‬

‭and negligent guard violations.‬‭See‬‭ECF No. 97. Judge‬‭Crotty so-ordered that stipulation on‬

‭July 13, 2022.‬‭See‬‭ECF No. 99. Plaintiff asserts that‬‭he suffered physical harm and developed‬

‭posttraumatic stress disorder (“PTSD”). Compl. ¶54. Plaintiff seeks relief in the form of‬



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‭compensatory damages (emotional distress damages and lost wages), punitive damages, and‬

‭declaratory relief.‬‭Id.‬‭at 39.‬

                                     ‭STANDARDS OF REVIEW‬

‭1.‬    ‭MOTION TO AMEND THE COMPLAINT‬

        ‭“The permissive standard of Rule 15 is consistent with our strong preference for‬

‭resolving disputes on the merits.”‬‭Regency Nyc, Inc.‬‭v. Atkinson‬‭, 2023 U.S. Dist. LEXIS‬

‭203125, at *3 (S.D.N.Y. Nov. 13, 2023) (internal quotation marks omitted) (citing‬‭Williams‬

‭v. Citigroup Inc.‬‭, 659 F.3d 208, 212-13 (2d Cir. 2011)‬‭(quoting‬‭New York v. Green‬‭, 420‬

‭F.3d 99, 104 (2d Cir. 2005))). Therefore, a party may amend its pleading with the court’s‬

‭leave when justice so requires.‬‭See‬‭Fed. R. Civ. P.‬‭15(a)(2). To determine whether “justice so‬

‭requires”, the court considers four factors: (1) undue delay; (2) bad faith; (3) futility of‬

‭amendment; and (4) undue prejudice to the opposing party.‬‭Morris v. City of New York‬‭, 2022‬

‭U.S. Dist. LEXIS 129953, at *2 (S.D.N.Y. July 21, 2022) (citing‬‭Jones v. City of New York‬‭,‬

‭No. 18 Civ. 1937 (VSB) (GWG), 571 F. Supp. 3d 118, 2021 U.S. Dist. LEXIS 227950, 2021‬

‭WL 5562694, at *5 (S.D.N.Y. Nov. 29, 2021)). The “‘non-movant bears the burden of‬

‭showing prejudice, bad faith[,] and futility of amendment.’’‬‭Perez v. Escobar Constr., Inc.‬‭,‬

‭342 F.R.D. 378, 380 (S.D.N.Y. 2022) (quoting‬‭United‬‭States ex. Rel. Raffington v. Bon‬

‭Secours Health Sys., Inc.‬‭, 567 F. Supp. 3d 429, 438‬‭(S.D.N.Y. 2021)) (cleaned up).‬

        ‭Furthermore, when a motion for leave to amend a pleading is filed as a Rule 12 motion‬

‭is pending, the court may “accept the pleading and ‘deny the motion as moot’” or “‘consider‬

‭the merits of the motion in light of the amended [pleading].’”‬‭Powermat Techs. V. Belkin‬

‭Int’l‬‭, 2020 U.S. Dist. LEXIS 98912, at *17-18 (S.D.N.Y.‬‭April 2, 2020) (quoting‬‭Conforti v.‬




                                                  ‭6‬
‭Sunbelt Rentals, Inc.‬‭, 201 F. Supp. 3d 378, 291 (E.D.N.Y. 2016) (internal quotation marks‬

‭omitted)).‬

‭2.‬    ‭FED R. CIV. P. 12(C) JUDGMENT ON THE PLEADINGS‬

        ‭The standard for judgment on the pleadings under Rule 12(c) is the same as Rule‬

‭12(b)(6) motions.‬‭Toliver v. City of New York‬‭, 2013‬‭U.S. Dist. LEXIS 39894, *4 (S.D.N.Y.‬

‭March 21, 2013). To defeat a Rule 12(c) or 12(b)(6) motion to dismiss, a complaint must‬

‭contain sufficient factual matter, accepted as true, to “‘state a claim to relief that is plausible‬

‭on its face.’”‬‭Ashcroft v. Iqbal‬‭, 556 U.S. 662, 678‬‭(2009) (quoting‬‭Bell Atlantic Corp. v.‬

‭Twombly‬‭, 550 U.S. 544, 570,127 S. Ct. 1955, 167 L.‬‭Ed. 2d 929 (2007) (“‬‭Twombly‬‭”)). “A‬

‭claim has facial plausibility when the plaintiff pleads factual content that allows the court to‬

‭draw the reasonable inference that the defendant is liable for the misconduct alleged.”‬‭Id.‬

‭(citing‬‭Twombly‬‭, 550 U.S. at 556, 127 S. Ct. 1955,‬‭167 L. Ed. 2d 929). Thus, a pleading that‬

‭only offers threadbare recitals of legal elements, supported by mere conclusory statements,‬

‭does not suffice.‬‭Id.‬‭(citing‬‭Twombly‬‭, 550 U.S. at‬‭555, 127 S. Ct. 1955, 167 L. Ed. 2d 929).‬

                                           ‭ARGUMENT‬

‭1.‬    ‭ HE PLAINTIFF SHOULD BE GRANTED LEAVE TO AMEND THE‬
        T
        ‭COMPLAINT‬

        ‭This Court should grant the plaintiff leave to amend the complaint because there is no‬

‭(1) undue delay, (2) bad faith, (3) futility of amendment, or (4) undue prejudice to the‬

‭opposing party.‬

        ‭A.‬ ‭There is No Undue Delay‬

        ‭The Courts have held that a lack of bad faith or undue prejudice does not provide a‬

‭basis for denying the right to amend.‬‭Perez‬‭, 342 F.R.D.‬‭at 381 (quoting‬‭State Teachers Ret.‬

‭Bd. v. Fluor Corp.‬‭, 654 F.2d 843, 856 (2d Cir. 1981)).‬‭But, when considerable time has‬



                                                   ‭7‬
‭elapsed between filing the complaint and the motion to amend, the moving party has the‬

‭burden to provide an explanation for the delay.‬‭Cartier,‬‭Inc. v. Four Star Jewelry Creations,‬

‭Inc.‬‭, 2004 U.S. Dist. LEXIS 989, at *7 (S.D.N.Y. Jan.‬‭27, 2004) (“‬‭Cartier‬‭”) (citing‬‭Evans v.‬

‭Syracuse City Sch. Dist.‬‭, 704 F.2d 44, 46-48 (2d Cir.‬‭1983)).‬

       ‭Still, “‘Courts [in the Second Circuit] have granted motions to amend where the‬

‭litigation has progressed significantly, even past discovery, on the grounds that absent a‬

‭showing of prejudice, leave to amend should be freely given.’”‬‭Domingues v. Walsh‬‭, 2023‬

‭U.S. Dist. LEXIS 169635, at *4 (S.D.N.Y. Sept. 22, 2023) (quoting‬‭Wash. v. Dewey‬‭, No.‬

‭17-CV-1316, 2019 U.S. Dist. LEXIS 72871, 2019 WL 1921939, at *2 (D. Conn. Apr. 30,‬

‭2019)). Furthermore, the court has allowed amendment two and one-half years after the case‬

‭began and noted that “‘even vague or thin reasons [for delay] are sufficient, in the absence of‬

‭prejudice or bad faith.’”‬‭Id.‬‭at *6 (cleaned up) (quoting‬‭Duling v. Gristede’s Operating Corp.‬‭,‬

‭265 F.R.D. 91, 98 (S.D.N.Y. 2010)).‬

       ‭Although a considerable period of time has passed, there has been no undue delay.‬

‭Plaintiff’s motion to amend his complaint is intended solely to clarify both his IIED and prima‬

‭facie tort claims. This need for clarification stemmed from a mere oversight and was not‬

‭intended to delay proceedings. As described below, this passage of time should not affect‬

‭Plaintiff’s motion to amend because of a clear absence of bad faith and prejudice.‬‭See‬

‭Domingues‬‭, 2023 U.S. Dist. LEXIS 16935, at *5 (quoting‬‭Duling‬‭, 265 F.R.D. at 98).‬

       ‭B.‬ ‭There is No Bad Faith on Plaintiff’s Behalf‬

       ‭“Bad faith, defined as ‘[d]ishonesty of belief, purpose, or motive,’ is sufficient basis‬

‭for denial of leave to amend.”‬‭Davis v. Sedgwick Claims‬‭Mgmt. Servs. Inc.‬‭, 2023 U.S. Dist.‬

‭LEXIS 154760, at *54 (S.D.N.Y. Aug. 30, 2023) (quoting‬‭Bad Faith‬‭, Black’s Law Dictionary‬

‭(11th ed. 2019). “‘[T]he fact that a party may have had evidence to support a proposed‬

                                                  ‭8‬
‭amendment earlier in the litigation does not, by itself, give rise to an inference of bad faith.’”‬

‭Agerbrink v. Model Serv. LLC‬‭, 155 F.Supp. 3d 448,‬‭454 (S.D.N.Y. 2016) (quoting‬‭Randolph‬

‭Foundation v. Duncan‬‭, No. 00 Civ. 1172, 2002 U.S.‬‭Dist. LEXIS 362, 2002 WL 32862, at *3‬

‭(S.D.N.Y. Jan. 11, 2002). Further, the non-movant‬‭2‬ ‭must offer more than conclusory‬

‭allegations of bad faith.‬‭See‬‭Agerbrink‬‭, 155 F.Supp.‬‭at 453 (Courts consistently reject‬

‭conclusory allegations of bad faith).‬

       ‭There is no bad faith on Plaintiff’s behalf because Plaintiff’s motion to amend his‬

‭complaint is not rooted in dishonesty of belief, purpose, or motive. Plaintiff initiated this‬

‭motion to solely clarify both his IIED and prima facie tort claims, aiming to have each claim‬

‭adjudicated on the merits. Although Plaintiff may have been able to bring this motion earlier in‬

‭the litigation, that alone does not give rise to an inference of bad faith.‬‭See‬‭Agerbrink‬‭at 454;‬

‭(quoting‬‭Randolph‬‭, No. 00 Civ. 1772, 2002 U.S. Dist‬‭LEXIS 362, 2002 WL 32862, at *3).‬

       ‭C.‬ ‭There is No Futility of Amendment‬

       ‭“‘A proposed amendment is futile‬‭3‬ ‭when it could not‬‭withstand a motion to dismiss‬

‭pursuant to Rule 12(b)(6).’”‬‭Morris‬‭, 2022 U.S. Dist.‬‭LEXIS 129953, at *3 (quoting‬‭Morales‬

‭v. New York Univ.‬‭, No. 20 Civ. 4418 (GBD), 585 F.‬‭Supp. 3d 610, 2022 U.S. Dist. LEXIS‬

‭35476, 2022 WL 794422, at *1 (S.D.N.Y. Feb. 14, 2022)).‬

       ‭As explained below (Points 2 and 3), Plaintiff’s proposed amendment is not futile‬

‭because the PAC, specifically the amended IIED and prima facie tort claims, can withstand a‬

‭motion to dismiss pursuant to Rule 12(b)(6).‬




‭2‬
      ‭ he “‘non-movant bears the burden of showing prejudice, bad faith[,] and futility of‬
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‭amendment.’’‬‭Perez‬‭, 342 F.R.D. at 380 (quoting‬‭United‬‭States ex. Rel. Raffington‬‭, 567 F.‬
 ‭Supp. at 438) (cleaned up).‬
  ‭3‬
      ‭See‬‭Id‬‭.‬

                                                   ‭9‬
               ‭D.‬ ‭There is No Undue Prejudice to the Government‬

               ‭“Undue prejudice‬‭4‬ ‭arises when an amendment [comes]‬‭on the eve of trial and would‬

‭result in new problems of proof.”‬‭Agerbrink‬‭, 155 F.Supp.‬‭3d at 454 (cleaned up). Additional‬

‭time, resources, or effort does not constitute undue prejudice, but a district court should‬

‭consider whether allowing the amendment would require the nonmoving party to expend‬

‭significant additional resources or significant delay in the resolution of the dispute.‬‭Cartier‬‭,‬

‭2004 U.S. Dist. LEXIS 989, at *10. (citing‬‭A.V. by‬‭Versace, Inc. v. Gianni Versace, S.p.A.‬‭,‬

‭87 F.Supp. 2d 281, 299 (S.D.N.Y. 2000);‬‭Block v. First‬‭Blood Assocs.‬‭, 988 F.2d 344, 350‬

‭(2d Cir. 1933)). “This ‘inquiry involves a balancing process,’ weighing any potential prejudice‬

‭to the opposing party against the prejudice that the moving party would experience if the‬

‭amendment were denied.”‬‭Agerbrink‬‭, 155 F.Supp. 3d‬‭at 454 (quoting‬‭Oneida Indian Nation of‬

‭New York State v. County of Oneida‬‭, 199 F.R.D. 61,‬‭77 (N.D.N.Y. 2000)).‬

               ‭There is no undue prejudice imposed on the Government because Plaintiff’s motion to‬

‭amend did not commence on the eve of trial and will not result in new problems of proof.‬

‭Plaintiff’s motion to amend is not commenced on the eve of trial as a trial date has not been‬

‭set. Additionally, Plaintiff’s amendment will not cause problems of proof, as Plaintiff is not‬

‭seeking to add new claims, but rather amend existing claims that have been present since the‬

‭initiation of this lawsuit. (‬‭See‬‭ECF No. 1).‬

               ‭Similarly, Plaintiff’s amendment will not require the Government to expend significant‬

‭additional resources or significant delay in the resolution of the dispute. As previously‬

‭mentioned, Plaintiff is only seeking to amend existing claims that have been present since the‬

‭initiation of this lawsuit.‬‭See‬‭Id.‬‭. Therefore, the‬‭Government has been aware of these claims‬

‭throughout discovery and will not require additional discovery to defend against them. Also,‬
‭4‬
      ‭See‬‭Id‬‭.‬

                                                       ‭10‬
‭there will not be a significant delay in the resolution of this dispute because this dispute has‬

‭already spanned almost six‬‭years and no trial date‬‭has been set.‬

        ‭E.‬    ‭The PAC Renders The Government’s Motion Moot‬

        ‭Importantly, in addition to requiring a lack of prejudice and bad faith, this Court has‬

‭previously found that in assessing leave to amend a complaint, it must “simply determine that‬

‭the proposed claims are colorable and not frivolous."‬‭Johnson-Tucker v. Loyola Sch.‬‭, No.‬

‭23-CV-1351 (JGLC), 2024 U.S. Dist. LEXIS 13473, at *4 (S.D.N.Y. Jan. 25, 2024) (quoting‬

‭Winstar Commc'ns‬‭, 2006 U.S. Dist. LEXIS 7618, 2006‬‭WL 473885, at *2. In direct‬

‭correlation with the instant motion, it has been well settled that a Court wields the discretion to‬

‭render a motion for judgment on the pleadings moot when also considering a cross-motion to‬

‭amend a complaint.‬‭See‬‭James v. Monroe Cty.‬‭, No. 20-CV-7094‬‭CJS, 2022 U.S. Dist. LEXIS‬

‭211669, at *23 (W.D.N.Y. Nov. 22, 2022) (holding that a Court’s discretion allows it to‬

‭consider denying the motion as moot to even considering the merits of the motion in light of the‬

‭amended complaint).‬

        ‭Consequently, given the absence of i) undue prejudice, ii) bad faith and iii) futility of‬

‭the amendments, while factoring a Court’s plenary discretion, it is respectfully requested that‬

‭the Plaintiff be granted leave to submit an amended complaint and the Government’s motion be‬

‭denied as moot.‬

‭2.‬    ‭ HE GOVERNMENT SHOULD BE DENIED JUDGMENT ON THE‬
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        ‭PLEADINGS ON PLAINTIFF’S IIED CLAIM‬

        ‭Additionally, in direct opposition to the Government’s request for judgment on the‬

‭pleadings, Plaintiff contends that the PAC adequately alleges the required elements and is not‬

‭duplicative of, or redressable by, other traditional tort remedies.‬




                                                  ‭11‬
       ‭A.‬ ‭Precedent Provides This Court The Authority To Assess The Government’s‬
             ‭Motion Through The Allegations In The PAC‬

       ‭The Second Circuit has previously found that “where a plaintiff‬‭seeks to amend‬‭his‬

‭complaint while a motion to dismiss is pending, a court 'has a variety of ways in which it may‬

‭deal with the pending motion to dismiss, from denying the motion as moot to considering the‬

‭merits of the motion in light of the amended complaint.'"‬‭Conforti v. Sunbelt Rentals, Inc‬‭.,‬

‭201 F. Supp. 3d 278, 291 (E.D.N.Y. 2016)‬‭(emphasis‬‭added) (quoting‬‭Hamzik v. Office for‬

‭People with Developmental Disabilities‬‭, 859 F. Supp.‬‭2d 265, 273-74 (N.D.N.Y. 2012)). In‬

‭alignment with the matter at hand, this rule has been parlayed into the assessment of a motion‬

‭for judgment on the pleadings.‬‭James‬‭at *23 (the Court‬‭disregarded the original Complaint and‬

‭evaluated the sufficiency of the proposed Amended Complaint under Rule 12(b)(6) when‬

‭scrutinizing the Defendants' arguments in a motion for judgment on the pleadings).‬

       ‭In consideration of this precedent, the PAC will serve as the basis for Plaintiff’s‬

‭arguments in opposing the Government’s motion.‬

       ‭B.‬ ‭The PAC States A Claim That Sufficiently Pleads All Elements Of IIED‬

       ‭As this Court is aware, the elements of an IIED claim require the Plaintiff to allege i)‬

‭that extreme and outrageous conduct occurred; ii) that said conduct occurred with the intent to‬

‭cause emotional distress; iii) that a causal connection between the conduct and alleged injury‬

‭exists; and iv) that the target of the conduct has suffered severe emotional distress.‬‭See‬‭Rivera‬

‭v. City of New York‬‭, 392 F. Supp. 2d 644, 657-58 (S.D.N.Y.‬‭2005). It has also been settled‬

‭that a plaintiff asserting IIED under New York law “must strictly allege conduct ‘so‬

‭outrageous in character, and so extreme in degree, as to go beyond all possible bounds of‬

‭decency, as atrocious, and utterly intolerable in a civilized community[.]’”‬‭Karupaiyan v. CVS‬

‭Health Corp.‬‭, No. 19 CIV. 8814 (KPF), 2021 WL 4341132,‬‭at *32 (S.D.N.Y. Sept. 23,‬


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‭2021) (quoting‬‭Dillon v. City of New York‬‭, 704 N.Y.S.2d 1, 7 (1st Dep’t 1999));‬‭accord‬

‭Fischer v. Maloney‬‭, 43 N.Y.2d 533, 557 (1978). Due‬‭to this high pleading standard, IIED‬

‭claims are often deemed “rigorous, and difficult to satisfy.”‬‭J.H. v. City of Mount Vernon‬‭,‬

‭No. 18-CV-4399 (CS, 2019 WL 1639944, at *5 (S.D.N.Y. Apr. 15, 2019) (quoting‬‭Howell v.‬

‭New York Post Co., Inc.‬‭, 81 N.Y.2d 115, 121 (1993));‬‭accord‬‭Conboy v. AT & T Corp.‬‭, 241‬

‭F.3d 242, 258 (2d Cir. 2001).‬

        ‭Despite this high standard, the PAC’s IIED claim has facial plausibility to adequately‬

‭allege its required elements (‬‭see‬‭Iqbal‬‭, 556 U.S.‬‭at 67), specifically, the second element — that‬

‭Government officers intended to cause Plaintiff emotional distress.‬‭See‬‭Rivera‬‭, 392 F. Supp.‬

‭2d at 657-658. The PAC alleges that a Deportation Officer and other ICE agents threatened to‬

‭transfer Plaintiff from Hudson County Corrections Facility (“HCCF”) to a far away location‬

‭where his family would be unable to contact him.‬‭See‬‭PAC ¶70. Moreover, the PAC alleges‬

‭that the aforementioned acted with the intent to cause, or with a substantial probability of‬

‭causing, severe emotional distress when threatening to transfer Plaintiff and remove all contact‬

‭from his family whom he deeply values.‬‭See‬‭Id.‬‭¶70.‬‭Thus, the PAC offers specific factual‬

‭allegations suggesting intent and has facial plausibility to adequately allege an IIED claim‬

‭under New York’s “rigorous” pleading standard.‬

        ‭In addition, the PAC has facial plausibility to adequately allege the first element of an‬

‭IIED claim — extreme and outrageous conduct.‬‭See‬‭Rivera‬‭,‬‭392 F. Supp. 2d at 657-658. The‬

‭PAC states that the Deportation Officer and other ICE agents’ threatened the Plaintiff to‬

‭discourage him from filing another grievance.‬‭See‬‭PAC ¶70. The PAC also alleges that the‬

‭aforementioned fulfilled that threat when Plaintiff communicated another complaint in the‬

‭manner provided by ICE regulations and procedures, thus plausibly alleging a “deliberate and‬



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‭malicious campaign.”‬‭See‬‭Id.‬‭;‬‭Margrabe v. Sexter & Warmflash, P.C.‬‭, 353 F. App’x 547,‬

‭550 (2d Cir. 2009) (quoting‬‭Cohn-Frankel v. United‬‭Synagogue of Conservative Judaism‬‭, 246‬

‭A.D.2d 332, 332 (1st Dep’t 1998) (“Courts are reluctant to allow recovery under the banner of‬

‭intentional infliction of emotional distress absent a deliberate and malicious campaign of‬

‭harassment and intimidation.”). Overall, the PAC offers specific factual allegations suggesting‬

‭extreme and outrageous conduct and carries facial plausibility to adequately allege an IIED‬

‭claim.‬

           ‭C.‬ ‭The IIED Claim Is Not Predicated On A Single Act‬

           ‭Contrary to the Government’s assertions, the IIED claim is not predicated on one (1)‬

‭single act of force, but rather on a‬‭pattern of behavior‬‭that spanned from the Plaintiff’s transfer‬

‭all the way to his detention in Alabama. The Plaintiff presents allegations not exclusive to the‬

‭transportation and transfer itself, also alleging lack of proper medical care to treat the injuries‬

‭sustained.‬‭See‬‭¶70 of complaint. Additionally, many‬‭other retaliatory acts are pleaded, most of‬

‭which occurred after the Plaintiff lodged a complaint against the Government agents overseeing‬

‭his detention. Clearly, the retaliatory acts indicate a pattern of behavior intended to punish the‬

‭Plaintiff for speaking out against the conditions under which he was being held.‬

           ‭The Government also asserts that the complaint is devoid of any specific allegations‬

‭suggesting intent. This clearly misrepresents the complaint’s content, as it is clearly stated‬

‭that the situation began far before the actual transportation. Nearly eight (8) months passed‬

‭between the time the Plaintiff was arrested and the transportation and assault took place, a‬

‭span that was replete with retaliatory conduct by the Government’s agents against the‬

‭Plaintiffs.‬‭See‬‭complaint ¶¶38-40.‬

           ‭Thus, the Plaintiff’s IIED claim is sufficiently pleaded, does not rely exclusively on‬

‭conclusory assertions, and does not, in any way, claim only one (1) single act.‬

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           ‭D.‬ ‭The IIED Claim Is Not Duplicative of Other Torts Claims‬

           ‭“‘A claim for IIED may not be sustainable where the conduct complained of falls well‬

‭within the ambit of other tort liability.’”‬‭Roelcke‬‭v. Zip Aviation, LLC‬‭, 571 F. Supp. 3d 214,‬

‭236 (S.D.N.Y. Nov. 23, 2021) (quoting‬‭Turley v. ISG‬‭Lackawanna Inc.‬‭, 774 F.3d 140, 157‬

‭(2d Cir. 2014));‬‭accord‬‭McGrath v. Nassau Health Care‬‭Corp.‬‭, 217 F. Supp. 2d 319, 335‬

‭(E.D.N.Y. 2002) (“IIED claims that are duplicative of other torts claims” should be‬

‭dismissed).‬

           ‭Plaintiff’s amended IIED claim does not fall within Plaintiff’s other tort claims.‬

‭Plaintiff’s amended IIED claim is premised solely on the Deportation Officer and ICE agents’‬

‭threat, and their fulfillment of that threat.‬‭See‬‭PAC ¶70. In contrast, the remainder of‬

‭Plaintiff’s claims are based on other conduct such as his arrest, and when John Doe #1 and‬

‭John and Jane Does #7-19 handcuffed and abused Plaintiff.‬‭To date, the defendants have no‬

‭explanation as to why Plaintiff was separated from the rest of the detainees being transported to‬

‭Varick Street.‬‭5‬ ‭They also cannot explain why they‬‭secluded him in a room by himself‬‭6‬ ‭and‬

‭why/how he ended up on the floor with almost ten (10) ICE agents forcibly putting him in a‬

‭five-point restraint. Additionally, there is no testimony or evidence that Plaintiff was a violent‬

‭individual who posed a threat of the magnitude the Defendant ICE agents conjured him up to‬

‭be. There was no reason given or demonstrated by ICE showing that Plaintiff needed to be‬

‭forcibly transported in the manner that he was other than to vindictively exert their power to‬

‭intimidate and frighten Plaintiff, which they did.‬‭See‬‭Id‬‭. ¶¶66;‬‭Roelcke‬‭, 571 F. Supp. 3d at‬

‭236 (Defendants IIED claim was not duplicative of his abuse of process claim because it‬




‭5‬
      ‭ ee‬‭Weidlein Depo. Transcript pg 76:13-21 and pg‬‭279:7-12‬
      S
‭6‬
      ‭See‬‭Weidlein Depo. Transcript pg 99:25 and pg 100:1–25‬

                                                    ‭15‬
‭included a broader pattern of conduct while the abuse of process claim was solely premised on‬

‭plaintiff’s initiation of certain judicial proceedings).‬

        ‭Thus, because Plaintiff’s amended IIED claim does not fall within Plaintiff’s other tort‬

‭claims, it should not be dismissed for being duplicative.‬

        ‭E.‬ ‭The IIED Claim Is Properly Pled And Should Not Be Dismissed‬

        ‭Because the IIED claim in the PAC satisfies all required elements, is predicated on a‬

‭pattern of deliberate behavior, and does not fall within Plaintiff’s other tort claims, the IIED‬

‭claim should withstand the Government’s motion.‬

‭3.‬    ‭ HE GOVERNMENT SHOULD BE DENIED JUDGMENT ON THE‬
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        ‭PLEADINGS ON PLAINTIFF’S PRIMA FACIE TORT CLAIM‬

        ‭This Court should deny the Government a judgment on the pleadings with respect to the‬

‭prima facie tort claim because it is adequately pleaded and not duplicative of other traditional‬

‭tort theories.‬

        ‭A.‬ ‭The Complaint States a Claim for Prima Facie Tort‬

        ‭“Prima facie tort affords a remedy for the infliction of intentional harm, resulting in‬

‭damage, without excuse or justification, by an act or series of acts which would otherwise be‬

‭lawful.”‬‭Freihofer v. Hearst Corp.‬‭, 65 N.Y.2d 135,‬‭142 (1985) (internal quotation marks‬

‭omitted).‬‭Freihofer‬‭further establishes that the requisite‬‭elements of a cause of action for prima‬

‭facie tort are (1) the intentional infliction of harm, (2) which results in special damages, (3)‬

‭without any excuse or justification, (4) by an act or series of acts which would otherwise be‬

‭lawful.‬‭Id.‬‭at 142-143.‬

        ‭“A critical element of the cause of action is that plaintiff suffered specific and‬

‭measurable loss, which requires an allegation of special damages.”‬‭Id.‬‭at 143. Under New‬

‭York law, “special damages” are damages that are “alleged with sufficient particularity to‬


                                                   ‭16‬
‭identify actual losses…[that are] related usually to the alleged tortious acts.”‬‭Barone v. United‬

‭States‬‭, No. 12-CV-4103 (LAK), 2016 WL 2658174, at‬‭*4 (S.D.N.Y. May 5, 2016),‬‭aff’d‬‭,‬

‭722 F. App’x 57 (2d Cir. 2018) (quoting‬‭Epifani v.‬‭Johnson‬‭, 65 A.D. 3d 224, 233 (2d Dep’t‬

‭2009)). Special damages must be “fully and accurately stated” and cannot be “conjectural in‬

‭identity and speculative amount.”‬‭Id.‬‭(internal citations‬‭omitted). “[R]ound sums without any‬

‭attempt at itemization are insufficient.”‬‭Id.‬‭(quoting‬‭Bear, Stears Funding Inc. v. Interface‬

‭Grp.-Nevada, Inc.‬‭, 361 F. Supp. 2d 283, 306 (S.D.N.Y.‬‭2005)).‬

       ‭The PAC states a claim for prima facie tort because it has facial plausibility to‬

‭adequately allege its required elements.‬‭See‬‭Iqbal‬‭,‬‭556 U.S. at 67. Specifically, the PAC has‬

‭facial plausibility to adequately allege the second element of prima facie tort--special damages.‬

‭See‬‭Freihofer‬‭, 65 N.Y.2d at 142-143. The PAC asserts‬‭that the Plaintiff has incurred “special‬

‭damages,” identified what the special damages are, and itemized and calculated the alleged‬

‭losses.‬‭See‬‭PAC ¶¶102–105, and Prayer for Relief.‬‭Because the PAC offers specific factual‬

‭allegations to allege special damages with sufficient particularity, it has facial plausibility to‬

‭adequately allege an prima facie tort claim.‬

       ‭In addition, to state a claim for prima facie tort, a plaintiff must plausibly allege that the‬

‭challenged act or series of acts would have been lawful absent the intent to inflict harm.‬

‭Freihofer‬‭, 65 N.Y.2d at 142. Here, the PAC has facial‬‭plausibility to adequately allege an act‬

‭or series of acts which would otherwise be lawful, absent the intent to inflict harm.‬‭See‬

‭Freihofer‬‭, 65 N.Y.2d at 142. The PAC asserts that‬‭Plaintiff’s transfer is a lawful act, as the‬

‭transfer of a detainee is lawful when conducted in ordinary situations.‬‭See‬‭PAC ¶102.‬

‭Although the PAC identifies retaliation, assault, battery, failure to provide plaintiff with proper‬

‭medical attention, and breaches of the Government’s duty of care, the overarching act is the‬



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‭otherwise lawful transportation itself.‬‭See‬‭Id.‬‭Because the PAC offers specific factual‬

‭allegations suggesting an act which would otherwise be lawful, it has facial plausibility to‬

‭adequately allege an prima facie tort claim.‬

       ‭Thus, because the PAC has facial plausibility as it adequately alleges special damages,‬

‭to wit, future lost economic opportunity in the amount of $3,132,574.00 (See PAC ¶105)‬

‭suffered as a result of “an act which would otherwise be lawful,” Plaintiff has stated a claim‬

‭for prima facie tort and the Government’s judgment on the pleadings should be denied.‬

       ‭B.‬ ‭The Prima Facie Tort Claim Is Not Duplicative of Other Torts Claims‬

       ‭Some courts in the second circuit have held that,‬‭7‬ ‭“a set of facts giving rise to a‬

‭common-law tort is fatal to a prima facie tort claim . . . for ‘once a traditional tort is‬

‭established the cause of action for prima facie tort disappears.’”‬‭Chen v. United States‬‭, 854‬

‭F.2d 622, 628 (2d Cir. 1988) (quoting‬‭Curiano v. Suozzi‬‭,‬‭63 N.Y.2d 113, 117 (1984));‬‭accord‬

‭Matthaus v. Hadjedj‬‭, 148 A.D.3d 425, 426 (1st Dep’t‬‭2017). On the other hand, the New‬

‭York Court of Appeals stated that “‘where traditional tort remedy exists, a party will not be‬

‭foreclosed from pleading, as alternative relief, a cause of action for prima facie tort.’”‬‭Barone‬‭,‬

‭2016 U.S. Dist. LEXIS 59946, at *10 (quoting‬‭Vigoda‬‭v. DCA Prods. Plus Inc.‬‭, 293 A.D.2d‬

‭265, 266, 771 N.Y.S.2d 20, 22-23 (1st Dep’t 2002).‬

       ‭Although the PAC identifies retaliation, assault, battery, failure to provide proper‬

‭medical attention, and breaches of the Government’s duty of care, the prima facie tort claim is‬

‭based on the collective wrongdoing‬‭that Plaintiff‬‭suffered, from the injurious transportation to‬

‭the breaches of medical attention itself. It is due to this pattern of egregious conduct that the‬
‭7‬
     ‭See‬‭Barone v. United States‬‭, 2016 U.S. Dist. LEXIS‬‭59946, at *10 (S.D.N.Y. May 5, 2016)‬
(‭ quoting‬‭Rother v. N.Y. State Dep’t of Corrections‬‭and Cmty. Supervision‬‭, 970 F.Supp. 2d‬
 ‭78, 106 (N.D.N.Y. 2013) (emphasis added)) (“‬‭Some‬‭courts‬‭in this circuit have dismissed‬
  ‭prima facie‬‭tort claims as duplicative of IIED claims‬‭on the simple basis that ‘[a] duplicative‬
   ‭prima facie tort claim must be dismissed.’”).‬

                                                  ‭18‬
‭Plaintiff’s prima facie tort claim stands steady on the allegations presented.‬‭Cf‬‭.‬‭Belsky v.‬

‭Lowenthal‬‭, 62 A.D.2d 319, 323, 405 N.Y.S.2d 62, 65‬‭(App. Div. 1st Dept. 1978). Even if‬

‭this Court finds that Plaintiffs’ amended prima facie tort claim is duplicative, it should not be‬

‭dismissed, as the courts in the Second Circuit are undecided on whether to dismiss a prima‬

‭facie tort claim when other traditional tort remedies exist.‬‭See‬‭Barone‬‭, 2016 U.S. Dist. LEXIS‬

‭59946, at *10 (quoting‬‭Vigoda‬‭, 293 A.D.2d at 266).‬

        ‭C.‬ ‭The Prima Facie Tort Claim Is Properly Pled And Should Not Be Dismissed‬

        ‭Thus, because Plaintiff’s amended prima facie tort claim is based on a pattern of‬

‭behavior rather than an isolated incident, any ambiguity in the Second Circuit on whether to‬

‭dismiss such a claim when other traditional tort remedies exist should enable this court to reject‬

‭the Government’s assertions that the claim is duplicative.‬

                                           ‭CONCLUSION‬

        ‭For the above stated reasons, the Plaintiff requests that this Court i) grant leave to‬

‭amend his complaint and ii) deny the Government’s request for judgment on the pleadings with‬

‭respect to the IIED and prima facie tort claims.‬

‭Dated: September 3, 2024‬
        ‭New York, New York‬


                                                                ‭Respectfully submitted,‬



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                                                                 ‭Rehan Nazrali, Esq.‬




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